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     Attorneys for Defendants FREMANTLE
10 PRODUCTIONS NORTH AMERICA, INC. and
11 MARATHON PRODUCTIONS, INC.
12                               UNITED STATES DISTRICT COURT

13                                         DISTRICT OF NEVADA

14
     RUSSELL G. GREER,                                Case No. 2:21-cv-01905-RFB-NJK
15
                           Plaintiff,                 Judge Richard F. Boulware, II
16
             v.                                       Magistrate Judge Nancy J. Koppe
17
     FREMANTLE PRODUCTIONS NORTH
18   AMERICA, INC, a corporation and                  JOINT STIPULATION AND
     MARATHON PRODUCTIONS, INC, a                     [PROPOSED] ORDER TO STAY
19   corporation,                                     DISCOVERY [ECF NO. 49]
20                         Defendants.
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                                                                 JOINT STIPULATION & [PROPOSED]
                                                                      ORDER TO STAY DISCOVERY
                                                                            CASE NO. 2:21-cv-01905
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           Plaintiff Russell G. Greer (“Greer”), in pro per person, and Defendants Fremantle
 1
     Productions North America, Inc. and Marathon Productions, Inc. (collectively, “Marathon”), by
 2
     and through counsel, hereby agree and stipulate as follows:
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           WHEREAS, Marathon moved to compel arbitration on February 4, 2022, see ECF No.
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     31;
 5
           WHEREAS, Marathon’s Motion to Compel Arbitration is currently under submission;
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           WHEREAS, on April 7, 2022, the Court directed Marathon to seek a stay of discovery by
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     April 14, 2022 or, in the alternative, instructed the Parties to file a joint proposed discovery plan
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     by April 21, 2022, see Order, ECF No. 49;
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           WHEREAS, the Parties agree that—for party and judicial efficiency—the Court should
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     resolve Marathon’s Motion to Compel Arbitration before the Parties file a joint proposed
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     discovery plan or otherwise commence discovery;
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           WHEREAS, the Parties agree that should the Court deny Marathon’s Motion to Compel
13
     Arbitration, the Parties shall have at least one week from such ruling to file a joint proposed
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     discovery plan;
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           WHEREAS, the Parties otherwise reserve all rights.
16
17    Dated this 8th day of April 2022.                Dated this 8th day of April 2022.
18    RUSSELL G. GREER                                 O’MELVENY & MYERS LLP
19     /s/ Russell G. Greer                             /s/ Molly M. Lens
      Russell G. Greer                                 Molly M. Lens (pro hac vice)
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22
      Pro Se Litigant                                  Attorneys for Defendants
23
24         IT IS SO ORDERED:
25
26                                                    UNITED STATES DISTRICT JUDGE
                                                     Dated: ______________________________
27
28
                                                                      JOINT STIPULATION & [PROPOSED]
                                                                           ORDER TO STAY DISCOVERY
                                                                                 CASE NO. 2:21-cv-01905
                                                      2
